Case 3:10-bk-03417-JAF Doc12 Filed 06/04/10 Page 1 of 7

UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA

JACKSONVILLE DIVISION
IN RE: CASE NO.: 10-03417-3G7
Mark S. Chambers,
Virginia Chambers,
Debtors.

 

 

NOTICE OF OPPORTUNITY TO
OBJECT AND FOR HEARING

Pursuant to Local Rule 2002-4, the Court will consider this motion,
objection, or other matter without further notice or hearing unless a party
in interest files an objection within 15 days from the date of service of
this paper. If you object to the relief requested in this paper, you must
file your objection with the Clerk of the Court at 300 North Hogan
Street, Suite 3-350, Jacksonville, Florida 32202-4267 and serve a copy
on the movant’s attorney, Jeffrey Becker, Esq., Hiday & Ricke, P.A.,
P.O. Box 550858, Jacksonville, Florida 32255-0858.

If you file and serve an appropriate objection within the time permitted,
the Court may schedule a hearing and you will be notified. If you do not
file an objection within the time permitted, the Court will consider that
you do not oppose the granting of the relief requested in the paper, will
proceed to consider the paper without further notice or hearing, and may
grant the relief requested.

 

 

 

CREDITOR, FLORIDA TELCO CREDIT UNION’S,
MOTION SEEKING RELIEF FROM AUTOMATIC
STAY PURSUANT TO BANKRUPTCY RULE 4001

Florida Telco Credit Union, by and through its undersigned counsel, hereby
moves this Honorable Court for Relief from Automatic Stay imposed pursuant to Section
362 of the Bankruptcy Code, and as grounds therefore would show as follows:

1. That the Court has jurisdiction over this matter pursuant to 20 U.S.C. Section
1471 and 11 U.S.C. Section 362, 363, and 552(b).
2. That this motion is made pursuant to Bankruptcy Rule 4001, and in conformity

with Rule 9014.
Case 3:10-bk-03417-JAF Doc12 Filed 06/04/10 Page 2 of 7

3. That the Debtors were at the time of the filing of the petition, and still are, justly
and truly indebted to the movant in the minimum amount of: $95,585.50 as to the
property described as: 291 Orange Avenue, Jacksonville, Florida 32259.

4. That this indebtedness is a second mortgage and is established by the Mortgage
Note signed by the Debtors herein, as evidenced by composite Exhibit 'A' which is
attached hereto and incorporated herein by reference.

5. That there are no setoffs or counterclaims to this debt, and it is free from any
change forbidden by law.

6. Pursuant to the attached exhibits, the movant has a fully protected security interest
in the collateral listed herein.

7. That the property described as: 291 Orange Avenue, Jacksonville, Florida 32259
has a value of $350,000.00 as listed in the Debtors Schedule D, and it is not necessary to
the reorganization of the estate.

8. Bac Home Loans Service holds the First Mortgage and has a Secured Claim listed
at $342,259.00 on the Debtor’s Schedule D.

9. The account as to the property described as: 291 Orange Avenue, Jacksonville,
Florida 32259 is due for April 15, 2010 for the regular monthly installment of $592.66.

10. Movant objects to and requests a hearing on any claim of the debtors seeking to
exempt this collateral.

11. Debtors had a reasonable opportunity to redeem the collateral.

12. The property has been claimed exempt by the debtor or abandoned by the trustee.

13. Estimated total time to hear this Motion, if a hearing is required is ten (10)
minutes.

WHEREFORE, Florida Telco Credit Union moves this Honorable Court for an Order
granting relief from the Section 362 stay and providing this Creditor with adequate

protection, as the Court deems appropriate under the circumstances of this case.
Case 3:10-bk-03417-JAF Doc12 Filed 06/04/10 Page 3 of 7

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the f regoing has been
furnished either electronically or by U.S. Mail this UA day of ae 2010 to Gregory
K. Crews, 8584 Arlington Expressway, Jacksonville, FL; 3221T, Assistant U.S. Trustee
135 W. Central Boulevard, Room 620, Orlando, FL. 32801, Mark S. Chambers, 6430
Autumn Berry Cir, Jacksonville, FL. 32258-8417, Todd W. Henry, 1555 Kingsley
Avenue, Suite 405, Orange Park, FL. 32073, Virginia Chambers, 6430 Autumn Berry
Cir, Jacksonville, FL. 32258-8417.

 

3

    
  
 

 

irey R. Becker, Esquire

$f, Office Box 550858

acksonville, FL 32255

(904) 363-2769 Fax: (904) 363-0538
Email: litigate@hidayricke.com
Flofida Bar No.: 0792977

Fild# 201001627

ANAT
95/04/2010 TUB 13: GAS@xRAGs PHA deladAGi co MAC Filed 06/04/10 Page 4Qb As

thd Rm

June 6, 2008 ' Jacksonville Florida . -
Wate} {Ciy] . [State]
GMM ce sve, acksonvitie FL 22259
" [Proporty Addrexs)

1. BORROWER'S PROMISE TO PAY : :

fm return for a Joan that I have received, I promise to pay U.S. $100,000.00 (this amount is called
“Principat”, plus interest, to the order of the Lendey.. The Lendar is Florida Teleo Credit Union. I will make all
payments under this Note in the form of cash, check or money. order, pt '

{understand that the Lerider may transfer this Note: The Lender or anyone who takes this Note by transfer
and who Is entitled to receive payments under this Note-is called the “Note Hol ne
2, INTEREST “

Interest will be charged on unpaid principal until full smount'of ‘Principal has’been paid. [will pay interest
ata yoatly ratz of 6.49%. | ‘ os :

The interest rate required by this. Section 2 is the rate I will pay both Wofore and after any default described
in Section 6(B) of this Note. _

3. PAYMENTS

{A) Time and Place of Payments

L will pay principal and intevest by making a payment overy month. ° 0

{ will make my monthly payment on the 15th day of each month beginning on July. 15,2008, 1 will make
these payments every month until I: have:paid all of the. principal and interest and-any- other charges described below
that I may owe under this'Note. Hach monthly payment Will be applied as of its scheduled’ due date and will be.
applied to Interest before Principal. If, on: June 15,.2028, 1 still ows amounts. ander this Note, I will pay those
amounts in full on that date, whichis called the “Maturity. Date.” . we . ‘

1 will make my monthly payments at P.O. Box +6688 Jecksonvitle, FL 32245 of at 4 different place if
required by the Note Holder. an ut Oo

(8) Amount of Monthly Payments : ;

My monthly payraent will, be in the amount of U.S. $745.82.

4. BORROWER'S. RIGHT TO PREPAY a

L have the right to make-payments of Principal at/any time bofore' they eté dua A payment.of Principal
only is known as a “Prepayment.” Whea [make & Prepayment, I will tell'the Note Holter in writing, that Tam doing
so. {may not designate a payment as a Prepayment if Thave not made.all-the monthly payments due under.the Note.

| may make @ full Prepayment or partial Prepayments without: paying a:Prepayment charge, The Note
Holder will use my Prepaymenits to'reducs the amount’of Principal Lowe under, this Note.‘ Hewever, the Note
Holder may apply my Prepayment to the accrued and unpald interast on the Prepaynient'amount, before applyiig
ray Prepayment to reduce the Principal amount of the Note. If [iniake a partial Prepayment, thers will be no changes
in the due date or in the ammount of my montlily payment unless the Note Holdar agrees in writing to those changes.
5. LOAN CHARGES - ” 3 ne ‘

Ifa law, which applies to this loan and which sets‘maxinum loan tharges, is finally interpreted so that the
interest or other loan charges collected or to be collected in connection .with this Joan exceed the permitted limits,
then: (a) any such loan charge shall be reduced by the amount necessary to reduce the charge to the permitted limit,
and (b) any sume already collected from-me which exceeded permitted limits will be refunded to me. The Note
Holder may choose to make this refund by reducing the Principal I owe under this Note or by making a divect
payment to me. Ifa refund reduces Principal, the reduction will be tteated as a partial Prepayment.

6, BORROWER'S FAILURE TO PAY 4S REQUIRED. so

(A) Late charge for Overdue Payments . . 4

If the Note Holder has not received:the full amount.of any monthly paymant by the end of 10 calendar days
after the date it is duc, { will pay a late charge to the Nots Holder: . The amount of the charge will be $25.00, J will
pay this late charge promptly but only once on each late payment ., ‘ f

FLORIDA FIXED RATE NOTE-Singlo Family (page 1 of 2 pages) Unc _ Ad

 
05/04/2010 TuB 13: GASAxH AOS HK S4deladABico MAC Filed 06/04/10 Page &Ab hos

(B} Default

[fT do not pay the full amount of each ovanthly 5 paymienton the date, ith is duo, I will be in- default

(C) Notice of Defaillt

If] am in default, the Note Holder may send me 2 written gotice telling imo thar {£1 do not pay the overdue
amount by a certain date, the Note Holder may require me to pay immediately, the full amount of Principal which
has not been paid and all the interest that I owe on that-amount: That dite'robet be a least 30 days éfter the date on
which the notice is mailed to me or delivered by other means.

(D) No Watver By Note Holder

Even if, at a time when f am in default, the Note Holder does not require me to pay immediately in full.as
described above, the Note Holder will still have the right to do soif! am.tn default ata later time,

(E) Payment of Note Holder's Cost and Exponses

If the Note Holder has required me to pay immediately in full-as described above, the Note Holder will —
have the right to be paid back by me for all of its costs and expenses in enforcing. this Note to the extent not
prohibited by applicable law. Those expenses include, for example, reasonable attombys’ fees.

7, GIVING OF NOTICES

Unless applicable law requires a different method, any notice that must be given tome under this Note will
be given by delivering it or by mailing it by first class mail to meat the Property Address above or at « different
address if] give the Note Holder a notice of my different address,

Any notice that must be given to the Note Holder under this Note will be given by delivering it of by
mailing it by first class majl to the Note Holder at the addrass stated in Section 3(A) above or at a different address if
Lam given a notice of that different address.

§. OBLIGATIONS OF PERSONS UNDER THIS NOTE

If more than one person signe this Note, each person is fully and: personally obligated to-keep all of the
promises made ‘in this Note, including the promise to pay the, fall amount owed. Any: person: who is a guarantor,
surety or endorser of this Note is also obligated to do these things, Any person who takes over these obligations,
including the obligations of a guarantor, surety or endorser of this Note, is also obligated to keep all of the promises
made in this Note. The Note Holder may enforce its rights under this Note. against each person individually or
against all of us together. This means that any one of us may be required to’ pay all-of the amounts owed under this
Note.

9, WAIVERS

[and any other person who has obligations -under this Note waive the rights of Presentment and-Notice of
Dishonor, “Presentment’’ means the right to require the ‘Note Holder to demand payment of amounts due. “Notice
of Dishonor” means the right to require the Note Holder to give notice to other persons that amounts due have not
been paid,

10. UNIFORM SECURED NOTE

This Note {s a uniform with limited variations in some jurisdictions. ‘In-addition to the protections given to
the Note Holder under this Note, a Mortgage, Deed of Trust, or Security Deéd (the “Security Instrument”), dated the
same date as this Note, protects the Note Holder from possible losses which might result if I do not. keep the
promises which I make in this Note, ‘That Security Instrument describes how and under what conditions I-thay be
required to make Immediate payment in full ofall amounts lowe under this Note. Some of those conditions are
described as follows:

{£ali or any part of the Property or any Interest ir the Property is sold or transferred (or if Borrower isnota =~
natural person and a beneficial imerest in Borrower is sold or. transferred) without Lender's prior-written consent, -
Lendar may require immediate payment in full of all sums’ secured by this. Security Instrument. However, this
option shall not be exercised by Lender if such exercise is prohibited by Applicable Law,

If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice
shall provide a period of not less than 30 days from the date the notice is given in accordance with Section 15 within
which Borrower must pay all sums secured by this Security Instrument. 1f Borrower fails.to pay these sums prior to
the expiration of this period, Lender may invoke any remedies permitted by:this: Security Instrument without further
notice or demand on Borrower. .
11. DOCUMENTARY TAX

The state documentary tax due on this Note-has been’ paid, on the mortgage securing, this, indebledness.

WITNESS THE HANDXS) AND SPALS) OF THE UNDERSIGNED

 

 

(page 2 of2 pages)

 

TROT ao ke oa Bh ee ct ap

 
05/04/2010 tue 13: ASR SOs PO St ad AGico WOGdg Filed 06/04/10 Page §Qh/4o5

 

Public Recarda of
St. Johns County, FL
Clork $ 2009038781,
This Instrument and O.R. $219 PG 693-598
should be reluread. pared y delet 07/20/2009 at 08:57 AM,
Marcia Ogivia yo ca) . REC. $17.00 SUR. $18.50
Florida Teloo Credit U
8700 Touchion Ri EO bot WoL 83
Jacksonville, FL
This Modification Agreement is entered into this | day of Tal 2004, by and between

Florida Telco Credit Union, whose address is 9700 Touchtan Rd Jac’ le, CLandar’), and Virginia
M. Chambag amibars and Mark Stantey Chambers aka Mark 3. Camisersafs we ruseaned, wa
address is onivitle, Ft $2256 individualty and collectively “BorrowenMortgagor’).

WITNESSETH:

WHEREAS, on June 6, 2000, Borrower’Mortgagor execuled and delivered to Lender a Note In the original
principal amount of $100,000.00: and

WHEREAS, the Note is secured by that Mortgage dated June 6, 2008, on the real property described In the
Mortgage executed in favor of Lander and recorded on June 16, 2008, in Official Records Book 3093, Pages 1928-
1932, of the Publix Records of St. Johns County, Florida: and

WHEREAS, Borrower/Mortgagor has requested that Lender modify cartain terms of the Note and
Mortgage; and

WHEREAS, Lender has agreed to such modifications upon certain conditions. ,

NOW, EE ee aoe mona Given and rocelved by each ary, Lender and
Sorrowar!Mortgagor hereby ‘agree as follows: :

1. sha par tanned agree hat ot =" Y. 2004 the principal btane
ve under the Note is $97,747.00, ea arena sof VY OO

2 The Nate shall be modified and amanded in its entirety as follows:

a. Borrowér/Mortgager shall pay $592.68 ta Lender on the 15” day of each month beginning on
August 15, 2009 through July 16, 2012 (ihe "Reduced Payment Period”). During the Reduced
Payment Period, interest shail accrue on the Nota at an annual rate of 4.00%.

b. Bagirming on August 15, 2012, and the 15" day of each month thereafter, Bo
shall make monthly periodia payments of $710.24 to Lender. Baginning on August 1§, 2012,
intareat shall acorua on the Note at an annual rate of 6.49%. if on July 15, 2029,
Borrowor/Martgagor owes any amounts under the Nota or tre Mortgage, as modified,
BorrowerfMortgagor will pay those amounts in full on that date, which is called the “maturtty data.”

e, In addilon to all payments describad above, Borrawur/Mertgagor shall make any and all escrow
payments as required by the Note and Mortgage, as modified.

d, Rorrower/Mortgagor understands and agrees that the, monthly payments described above
will not bo adequate to pay ail amounts dus under the Note and Mortgage, Consequently,
Borrower/Mortgagor will be required to make a balloon payment on or befare the maturity
date.

  

® _ BorrewerfMortgagor understands and agrees that the minimum monthly payments MAY nat
cover the finance charges that accrue and “negative amortization” MAY occur. Negative
’ * amorthtion will Increass.the amount BorrowerfMortgagor owes under the Note and
” Mortgage and reduce BorrowerMortgagor’s equity in the Property which secures the Note

Page 1 of 4
05/04/2010 tuz 13: GOSR FMD SAL Lad Nico ROGe Filed 06/04/10 Page gul/f0s

i e @

STATE OF FLORIDA
COUNTY OF

 

Dav? wens Sten wes af Lpgfore the "Y sarod Taser
Union, on bahatf of Flori Teles Ge ol, wa parenaly own 6 rs prosond :
as identification.

Wancin J Ogbut

Fant or ype name
NOTARY PUBLIC
My Commission #
Expires:

 

 

 

Page 4 of 4

 
